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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,


                   Plaintiff,
       v.

                                          Case No. 1:25-cv-11472-ADB
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,


                   Defendants.




    DEFENDANTS’ NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS
                     FOR THE FIRST CIRCUIT
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                    NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


       Notice is hereby given that the Defendants appeal to the United States Court of Appeals

for the First Circuit from the Court’s preliminary injunction order (ECF No. 75) entered in this

action on June 23, 2025.



 Dated: June 27, 2025                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I, Tiberius Davis, hereby certify that I served a true copy of the above document upon all

counsel of record via this court’s electronic filing system and upon any non-registered participants

via first class mail.


Dated: June 27, 2025                          /s/ Tiberius Davis
                                              TIBERIUS DAVIS
                                              Counsel to the Assistant Attorney General




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